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         IN THE UNITED STATES CIRCUIT COURT OF APPEALS
                     FOR THE SIXTH CIRCUIT



UNITED STATES OF AMERICA,              )      Case No. 23-1481
                  Plaintiff,           )      District Court Case No.
                                       )            2:21-cv-12570
V.                                     )
                                       )
JAMESJ.K ELLY,JR.,                     )
                     Defendant.        )
____ ____ ____ ___.///
 DEFENDA NT'S EMERGEN CY MOTION TO DELAY ENFORCE MENT
             OF CONTEMPT ORDER FOR 14 DAYS

      Defendant, by his attorney, pursuant to Fed. R. Appellate P. 27, respectfully

states as follows for his Emergency Motion to Delay Enforcement of Contempt

Order for 14 Days:

                                    Introduction

      1. The Defendant is the subject of an order from the district court dated

         January 3, 2024, requiring him to repatriate the contents of his overseas

         bank account.

     2. Defendant has sought to stay that requirement, both through good faith

         motion and by unsuccessfully attempting to secure a stay bond, to avoid
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   the substantial cost associated with liquidation and transfer of the

   account.

3. Having been unsuccessful in obtaining a stay without a bond or even a

   bond, on January 2, 2024, Defendant instructed his account manag er to

   provide the documents required to liquidate the contents of the accoun t

   and repatriate the proceeds. (See attached Exhibit A.)

4. Despite the instructions referenced in paragraph 3 above, at a show cause

   hearing on January 3, 2024, the district court required that Defend ant

   comple te repatriation of the overseas funds by January 5, 2024 or

   surrend er himsel f to the United States Marshal. (RE No. 97.)

5. Defend ant reasonably believes that liquidation of the accoun t, which

   contain s equities and foreign currencies (both Swiss francs and Euros),

   and repatriation through transfer to the a bank in Michigan, will take no

   less than 10-14 days. (See attached Exhibit B.)

6. Two days to repatriate is impossible and confinement in the event

   Defend ant is unable to complete that impossible task is unreasonable.

7. Accordingly, Defend ant respectfully requests that this Court delay

   enforce ment of the district court's deadline to repatriate or surrend er by

   fourteen (14) days, to January 19, 2024.
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                             Baclg:round

8. This case involves penalties (not taxes) owing from the Defendan t to the

   Plaintiff for Defendan t's failure to file FBAR forms with the IRS relative

   to a single overseas bank or investment account.

9. The district court entered judgment in favor of Plaintiff and against

   Defendan t on May 2, 2023, in the amount of$929,90 4.94 ("Judgme nt").

   (See RE No. 61.) The Judgment followed the district court's entry of

   summary judgment in favor of Plaintiff on Count I of the Complaint,

   finding that Defendan t "willfully" failed to file FBAR (tax related) forms

   relative to the overseas account for the years 2013-2015. (See RE No.

   60.)

IO.Defendant filed his notice of appeal on or about May 30, 2023, appealing

   the district court's judgment and ruling to this Sixth Circuit Court of

   Appeals.

11. On or about May 31, 2023, Defendant filed a motion for stay of

   proceedings and waiver of bond in the district court. The district court

   denied the request for stay and ordered repatriation of Defendant' s

   overseas assets, on or about October 23 , 2023.

12.As of Novembe r 27, 2023, the district court required repatriation by

   Decembe r 1, 2023.
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13.Defendant then requested of this Court of Appeals a stay of repatriation

   without a bond and pending appeal.

14.This Court denied the stay request on Novemb er 30, 2023 .

15 .At a status hearing in the district court on December 7, 2023, the Plaintiff

   requested a show cause order relative to Defenda nt's alleged contempt of

   court (for failure to timely repatriate), as well as tender of Defenda nt's

   passport.

16.Defendant timely submitted his passport to the clerk of the district court,

   on Decemb er 8, 2023.

17.Since the date of entry of the judgment in this case Defendant has sought

   a stay without a bond as well as a bond to secure a stay. Quotes for

   bonds have been both extremely expensive and required substantial

   collateral.

18.Further, the overseas account underlying this matter is not available for

   use as collateral, as the content of that account is frozen and not subject

   to encumbrance due to the preliminary injunction freezing Defenda nt's

   asset entered into by consent at the outset of this case.

19 .Defendant nevertheless has sought in good faith to locate collateral and

   secure the requisite bond. That effort remained underway as of the date

   of the show cause on January 3, 2024.
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20 .As of the date of this Motion, Defendant retains an overseas account with

   assets in the approximate amount of $1,550,000 (USD).


21.Defendant is proceeding with his right to an appeal. Defendant

   respectfully submits that, based upon the overseas account and the

   existing injunction against withdrawal, the appeal could proceed to

   resolution without any prejudice or risk to the Plaintiff. Security in a

   form other than a bond already exists.

    The Contemp t Order Requiring The United States Marshal To Take
                        Defendant Into Custody

22.Despite the foregoing, at the show cause hearing on January 3, 2024, the

    district court found Defendant in contempt of court for failure to

    repatriate his overseas account by dates previously ordered. (RE No. 97.)

23. The district court imposed a fine of $100 per day until funds are

    repatriated, to commence on January 5, 2024.

24.More importantly, at the same hearing on January 3, 2024, the district

    court provided Defendant only until Friday, January 5, 2024, to complete

    repatriation of the funds or surrender himself to the United States

    Marshal. Completing repatriation means the funds have been transferred

    to a bank in Michigan.
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25.On January 2, 2024, one day before the show cause hearing in the district

   court, the Defendant instructed his overseas account manager to provide

   whatever papers are necessary to liquidate the offshore account for

   purposes of repatriation. Liquidation and transfer of the account requires

   paperwork pursuant to the bank's requirements, as well as additional time

   to liquidate (the account contains equities and European currencies in the

   portfolio)(see attached).

26. It is fundamentally unfair and unreasonable to not allow Defendant

   sufficient time to liquidate and transfer the account prior to placing the

   Defendant into custody.

27. While the district court concluded that the Defendant had had sufficient

   time to commence and complete the repatriation process prior to

   providing his overseas account manager with instructions on January 2,

   2024, Defendant had been diligently working during that period toward a

   bond to stay enforcement proceedings. He did so in a good faith effort to

   avoid the substantial expense associated with liquidation and repatriation

   while this case is on appeal.

28.Accordingly, Defendant respectfully requests that this Court of Appeals

   delay enforcement of the portion of the contempt order requiring
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   Defondant be jailed on January 5, 2024, to and including January 19,

   2024.

29 .Defendant reasonably believes he will complete the repatriation process

   on or before January 19, 2024.

30.For the reasons stated above, Defendant respectfully requests entry of an

   order delaying enforcement of the contempt order as it relates to placing

   the Defendant in custody until January 19, 2024.

31. "A decision on a contempt petition is within the sound discretion of the

   trial court and thus is reviewed only for an abuse of discretion. Peppers v.

   Barry, 873 F.2d 967, 968 (6th Cir.1989). 'Abuse of discretion is defined

   as a definite and firm conviction that the trial court committed a clear

   error of judgment.' Bowling v. Pfizer, Inc., 102 F.3d 777, 780 (6th

   Cir.1996) (quotation omitted), cert. denied, 522 U.S. 906, 118 S. Ct. 263,

   139 L.Ed.2d 190 (1997)." Electrical Workers Pension Trust Fund v.

   Gary's Electric Service Co., 340 F.3d 373, 378 (6th Cir. 2003)(quotation

   and citations in original).

32."A person may be held in contempt if it is shown "by clear and

   convincing evidence that he violate[d] a definite and specific order of the

   court requiring him to perform or refrain from performing a particular act

   or acts with knowledge of the court's order." NLRB v. Cincinnati Bronze,
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  Inc., 829 F.2d 585, 591 (6th Cir. 1987) (citation and quotations omitted).

  "With respect to civil contempt proceedings, '[j]udicial sanctions ...

  may, in a proper case, be employed for either or both of two purposes; to

   coerce the (individual) into compliance with the court's order, and to

   compensate the complainant for losses sustained."' Gary's Elec. Serv.

   Co., 340 F.3d at 379 (quoting United States v. United Mine Workers of

   Am., 330 U.S. 258, 303-04 (1947))." Clarity Sports International, LLC

   v. Redland Sports, Case No. 2:20-mc-51484 (E.D. Mich., Oct. 25,

   202l)( quotat ions and citations in original).

33.Here, Defendant respectfully submits that the district court abused its

   discretion, and that there is no purpose for the district court' s order order

   of confinement either to coerce compliance or compensate the Plaintiff.

   Defendant has already been coerced, as evidenced by his instructions to

   the account manager dated January 2, 2024. Plaint iff has also already

   been compensated through the contempt order' s other component -- $100

   per day until funds are in the United States.

34.Defendant respectfully submits that placing Defendant into custody while

   he is acting to repatriate but before the funds are physically within the

   United States, is punitive in nature and therefore an abuse of discretion.
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                        Respectfully submitted,




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                        313-282-0035
                        Attorney for Defendant
                        charlesahaas@yahoo.com
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                                                                    r-w.,s,t A
                                                     Filed: 01/04/2024       Page: 10




James Kelly
2168 Highbury Drive
                                                                    -
Troy, Ml 48085

January 02, 2024

E. Agustoni
Golden Eagle Services
Feldstrasse 5
P.O. Box 175
CH-8902 Urdof Switzerland

Mr. Agustoni,

An order of repatriation of my funds to the United States, totaling $1 ,100,000,
has been issued. A stay filed to block this action was unsuccessful.

Therefore, please let me know ASAP, what steps I must take to accomplish this.
 I fully acknowledge liquidation of these assets held by SORA BANK AG. Account number
201.392 will incur significant financial penalties and cost but I have no choice in the matter.

Thank You for your assistance

Happy New Year.

Sincerely,


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James Kelly /  l
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                            Value at 30 November 2023
        Page: 11




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        Filed: 01/04/2024




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        Case: 23-1481




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                            Value at 30 Novemb er 2023
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        Filed: 01/04/2024




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        Case: 23-1481




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              IN THE UNITED STATES CIRCUIT COURT OF APPEALS
                          FOR THE SIXTH CIRCUIT



    UNITED STATES OF AMERICA,                )      Case No. 23-1481
                        Plaintiff,           )      District Court Case No.
                                             )              2:21-cv-12570
    V.                                       )
                                             )
    JAMES J. KELLY, JR.,                     )
                        Defendant.           )
                                                      Ill
    ----------------
                                     PROOF OF SERVICE

          The undersigned attorney for Defendant states and certifies that, on this~

    day of January 2024, he caused the foregoing Emergency Motion to Delay

    Enforcement of Contempt Order for 14 Days, and this Proof of Service, to be

    served upon the counsel for Plaintiff, United States of America, via the Court's

    electronic filing and service system.

                                             Respectfully submitted,


                                            luM ~V\J\J
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                                             Livonia, MI 48154
                                             313-282-0035
                                             Attorney for Defendant
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